Case No. 1:21-cv-02866-PAB-NRN Document 132 filed 01/30/24 USDC Colorado pg 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 21-cv-02866-PAB-NRN

   MICHAEL DRISCOLL,

          Plaintiff,

   v.

   THE CITY AND COUNTY OF DENVER, a municipal entity;
   CHIEF OF POLICE PAUL PAZEN, in his individual capacity,
   PATRICK PHELAN, in his individual capacity;
   RICK EBERHARTER, in his individual capacity;
   TIMOTHY HYATT, in his individual capacity;
   CHRISTOPHER COCHRAN, in his individual capacity;
   MICHAEL ERICKSON, in his individual capacity;
   KYLE JANOSKO, in his individual capacity;
   KALEN MCCARTHY, in his individual capacity;
   MATTHEW DOMENICO, in his individual capacity;
   DAVID ADAMS, in his individual capacity,

          Defendants.


        DEFENDANTS’ AMENDED1 UNOPPOSED JOINT MOTION TO MODIFY THE
           SCHEDULING ORDER TO INCREASE DISCOVERY LIMITATIONS


          Defendants, through undersigned counsel, move under D.C.COLO.LCivR 6.1 to modify

   the Scheduling Order [Doc Nos. 27 and 41] to increase the discovery limitations as follows:

                               I.      CERTIFICATE OF CONFERRAL

          Pursuant to D.C.COLO.LCiv.R 7.1(b)(2), counsel for Defendants conferred with counsel

   for Plaintiff who does not oppose the relief sought herein.



   1
     This Amended Motion is being filed to correct an error in the initial Motion [Doc. No. 130]. The
   initial Motion requests 25 interrogatories, requests for production, and requests for admission per
   group. However the parties have only agreed to 15 interrogatories, requests for production, and
   requests for admission per group.
Case No. 1:21-cv-02866-PAB-NRN Document 132 filed 01/30/24 USDC Colorado pg 2 of 5




                                        II.       INTRODUCTION

           1.     On February 28, 2023, Plaintiff named Christopher Cochran, Matthew Domenico,

   Rick Eberharter, Michael Erickson, Timothy Hyatt, Kyle Janosko, and Kaleb McCarthy as

   Defendants for the first time in his First Amended Complaint [Doc. No. 40] (collectively “new

   Defendants”). Plaintiff then filed a Second Amended Complaint [Doc. No. 94] on October 25,

   2023.

           2.     Most written discovery was exchanged before the new Defendants were parties in

   the case. Under the current Scheduling Order, Defendants collectively only have six

   interrogatories, six requests for production, and 22 requests for admission remaining. [Doc. Nos.

   27 and 41].

           3.     The written discovery that has been exchanged predominantly relates to Plaintiff’s

   allegations he was hit in the face with a rubber bullet by an unidentified Denver police officer on

   May 31, 2020, at 13th and Cherokee streets some time after 10:00 p.m., and does not inquire into

   the conduct specifically alleged against the new Defendants.

           4.     As the conduct of the new Defendants is unrelated to the alleged use of the rubber

   bullet (it involves different officers, different times, different dates, different conduct, and a

   different agency as to the Brighton Defendants), absent an increase in discovery limitations, the

   new Defendants would effectively be prohibited from conducting written discovery.

                                           III.    ARGUMENT

           5.     Pursuant to F.R.C.P. 16(b)(4), a Scheduling Order “may be modified only for good

   cause and with the judge’s consent.” Factors the court may consider in exercising its discretion for

   such modification include: (1) whether trial is imminent, (2) whether the request is opposed, (3)

   prejudice to the nonmoving party, (4) whether the moving party was diligent in obtaining
Case No. 1:21-cv-02866-PAB-NRN Document 132 filed 01/30/24 USDC Colorado pg 3 of 5




   discovery, (5) the foreseeability of the need for additional discovery in light of the time allowed,

   and (6) the likelihood the discovery will lead to relevant evidence. White v. Deere & Co., 13-cv-

   02173-PAB-NYW, 2015 WL 5081609, at *5 (D. Colo. Aug. 28, 2015) (citing Smith v. United

   States, 834 F.2d 166, 169 (10th Cir. 1987)).

          6.       In this case, no trial date has been set. As this motion is unopposed, Plaintiff will

   not be prejudiced by the relief sought. The new Defendants have been diligent in obtaining

   discovery and are not seeking an extension of the discovery deadline2. The need to increase the

   discovery limits was foreseeable given the addition of new Defendants involving separate

   incidents. Lastly, there is a high likelihood the discovery sought will lead to relevant evidence

   given the new Defendants seek written discovery related to the allegations against them within the

   Second Amended Complaint [Doc. No. 94].

          7.      Accordingly, Defendants request increasing the current discovery limits which only

   allow 15 interrogatories, 15 requests for production, and 15 requests for admission per side, to 15

   interrogatories, 15 requests for production, and 15 requests for admission per group.

          8.      For purposes of this motion, each “group” consists of the following (each

   represented by separate counsel):

                  •       Denver Defendants: The City and County of Denver, Chief of Police Paul
                          Pazen, Patrick Phelan, Rick Eberharter, and Christopher Cochran.

                  •       Timothy Hyatt

                  •       Kyle Janosko

                  •       Brighton Defendants: Michael Erickson, Kaleb McCarthy, and Matthew
                          Domenico.


   2
     At the status conference on January 11, 2024, Plaintiff indicated he may seek leave to file a Third
   Amended Complaint. Depending on the allegations in any such complaint filed, Defendants
   reserve the right to seek an extension of the discovery deadline to address new allegations.
Case No. 1:21-cv-02866-PAB-NRN Document 132 filed 01/30/24 USDC Colorado pg 4 of 5




          9.     In compliance with D.C.COLO.LCivR 6.1(c), a copy of this motion is being served

   contemporaneously upon the parties by undersigned counsel.


          Respectfully submitted on January 30, 2024,


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                                                   and Rick Eberharter
Case No. 1:21-cv-02866-PAB-NRN Document 132 filed 01/30/24 USDC Colorado pg 5 of 5




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 30th day of January, 2024, I electronically filed a true
   and correct copy of the above and foregoing DEFENDANTS’ AMENDED UNOPPOSED
   JOINT MOTION TO MODIFY THE SCHEDULING ORDER TO INCREASE
   DISCOVERY LIMITATIONS with the Clerk of Court using the CM/ECF system which will
   send notification of such filing to the following email address:

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                                                 s/ Taylor Will
                                                 Legal Secretary
